                Case 1:18-cr-00083-TSE Document 8 Filed 02/15/18 Page 1 of 1 PageID# 71
AO 83 (Rev. 06/09) Summons in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      Eastern District of Virginia

                   United States of America                        )
                              v.                                   )
                                                                   )
                                                                   )      Case No. 1:18cr83
                          Paul J. Manafort, Jr.
                                                                   )
                                                                   )
                              Defendant                            )

                                           AMENDED SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

☒ Indictment               ☐ Superseding Indictment        ☐ Information     ☐ Superseding Information             ☐ Complaint
☐ Probation Violation Petition            ☐ Supervised Release Violation Petition ☐ Violation Notice            ☐ Order of Court


Place:              401 Courthouse Square                                        Courtroom No.:         900
                    Alexandria, VA 22314
                                                                                 Date and Time:         2/23/18 @ 9:00 am

          This offense is briefly described as follows:

         See Attached Petition




Date:             02/15/2018                                                             COPY
                                                                                     Issuing officer’s signature

                                                                              Kathy Roberts – Deputy Clerk
                                                                                       Printed name and title



I declare under penalty of perjury that I have:

☐ Executed and returned this summons                            ☐ Returned this summons unexecuted




Date:
                                                                                         Server’s signature



                                                                                       Printed name and title
